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Salaam alaikuum, dear brother.
We hope this Islamic literature finds you in the best of faith and health. Please accept our
profound apology for the delay in its reaching you. Only recently have we been able to
replenish our supply of books. We hope you enjoy this literature, and derive maximum
benefit from it. May Allah, glorified be He, protect and guide us all.

Sincerely,
Alharamain Islamic Foundation

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Sirah 2. Al-Bagarah- Part2 | 65 | ++!

190. And fight in the Way of Allah” — od
those. who fight you, but transgress not. oe
the limits. Truly, Allah likes not the-
transgressors. [This Verse is the first
one that was revealed in comnection
with Jihad, but it was as supplemented by .
another @: 36)]. ©

os pore Dex os jue +
+

191. “And Kill them “wherever you a (BARRE Sb t
find them,. and turn. ‘them out. from gecae DOT £
ast : 2 i

where they, have. turned. you out. And CPUs erry
Eecees “Aes :

Al-Fitnah’ ! is worse than killing. be (SGT
And fight not with them at
Al- Masjid- -Al- Haram (the sanctuary at

a (V2: 190). “Alsihad- (holy. fighting) in Allah's’. Cause vith full
force ‘of. pumbers: and weaponry) {s given the utmost importance in
Jslam and is one of its pillars-(on which it stands). By Jihad Istam is °
established, Allan's. Word 1s made: Superior, (His Word being'Ea
ilaha: illallah= which means noné has the mght to: be: worshipped. but
_ Allah); and His religion (islam) 1s ‘propagated. By abandoning: “Dthad
(may Allah protect us. trom. that) Islam is destroyed and the Mrushins
fall into’ an’ inferior ‘position, their’ honour is’ Tost, Their Tands “are

stolen, AE rule nd anlhority s vanish Jifiad is an oblig
‘to escape. from this 5

asked him’ more, he, would have ae me ‘mor 3 ahi Abd

Vol-4, Hadith: ‘No.41).
2 MN, 2191). Al: Fitnah: ~: (polytheism, | to disbelieve. after one . has
amity or an. affliction)... eta

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Prophet Muhammad j,1., ue ai. carried on his mission of inviting
people to Allah js (Islamic Religion) and persevered in his mission of
invitation for 13 years in spite of the harm and injuries (which he
suffered), and he used to forgive the ignorant... in order that Allah’s Proof
be established against the disbelievers and that His Promise (be fulfilled
to them which He assured them with His Statement):

“And We never punish until We have sent a Messenger (to give

warning).”” (V.17:15)

The people continued in their transgression and they did not take
guidance from the’ manifest proof. The people of Quraish oppressed and
harmed all those who followed him (Muhammad py ule at Je), put them to
trials ‘and: afflictions in order to keep them away from their religion
(slam), even to the extent that they exiled them from their homeland:
some of them. fled to Ethiopia, some went to Al-Madinah (AI-
Munawwarah) and some. remained patient (at. Makkah) in spite of the
harm they suffered; by being imprisoned, made to suffer from hunger and
thirst and by being beaten (in a horrible manner)... so much so that some
of them were not able to sit straight from the severity (of the injuries)
sustained from the beatings.

They used to tie a rope around the neck of Bilal (may All&h be pleased
with him) and give the end of that rope in the hands of boys to play and drag
him through the. pathways of Makkah... And what Y4sir’s family suffered
from the torment was beyond what a normal human being can endure.

The peoplé ‘of Quraish harmed Allah’s Messenger (Muhammad
py ule ait ts) (t00): They: besieged him in Ash-Shi‘b: Once ‘Uqbah bin Abi
Mu‘ait tried to strangle him and he kept on squeezing the Prophet's clothes
round his--neck. till the: eyes of thé Prophet 5 t'ar... bulged out, and Abi
Bakr rushed at “Ugbah. and released the. Prophet .L, ue a: from him and
said, “Would you kill‘a nian because he says: My Lord is Allah yu ?”

Abdi Jahl. also tried to kill the Messenger 2) ub ai (L. , while the'latter
was in prostration praying’ in the Al:Masjid-al-Hardm, he carried a huge
stone. to. throw it on the Prophet's head, But when, he. (AbG Jahl) tried to
throw it he. turned on hig heels frightened saying: “Iam being preyented
from going near to Muhammad (poy cals dt te ) by a huge stallion camel
intending to. swallow me.”

And when Allah yw wanted to reveal His religion (Islém) and to fulfil
His Promise and to make-His Prophet ,., we at 1. victorious. So, AN4h yu
the Most High ordered him to emigrate to. Al-Madinah. So he stayed
there and Allah supported hini with Hig Victory and with His slaves, the
faithful’ believers —the Islamic’ army unit composed of different sorts of
people’ (black, white, and’ ted). They ‘strove’ hard for him with all their
efforts, and preferred his love to the love of (their) fathers, offspring and

Wives.

APPENDIX-IV .
In the Name of Allah, the Most Gracious, the Most Merciful

THE CALL TO JIHAD
(HOLY FIGHTING IN ALLAH’S CAUSE)
IN THE QUR’AN

aise is' to “Allah jus who has ordained ALJihdd (the holy fighting in

the heart (intentions or feelings),
. With the hand (weapons, etc.),
: 4.3: With the tongue (speeches, etc., in the Cause of Allah).
‘Allah has rewarded the one who performs it with lofty dwellings in the
f Paradise). TO
fy that theré is noné who has the’ right td be worshipped but
lone and He has no partners (with Him). I (also) testify that
fey su at i. is His slave and His Messenger, the one sent by
rcy for thé ‘Alamin (mankind and fe): the one
ed by Allah js to fight against the! Mushrikin™ (and‘all those
vi ibe partners with Allah). He fought in Allah’s Cause’ with all his
power and ability — may Allah’s Peace and Blessings bé upon hii, upon
followers and upon his Companions who believed in him; and
m, helped him and followed the light (the Qur’An) and his As-
legal ways, orders, acts of worship, statements)’ which was
‘0. him:..those who emigrated and fought in the Caiise of Allah
it wealth and their lives, they were thé supreme conquerors and

well-known « How. the Messenger ply ule 1 ite Was fighting against
Afin. (and all those who ascribe partners with Allah diz ) since
Most Respectful, the All- -Majestic sent him and honouréd him
Messengership till Allah ys caused him to die and selected for
t-was with Him (Paradise and all that is good).
rophet, sy ut 411. used (o visit the people in their gatherings
duging.the | Hajj and Umrah season and other occasions (too). He used to
their. market places, recite the Qur’4n, invite them to Allah gus , the
ectful, the All-Majestic: He used to say, “Who will give me a
r, and who will support me till I convey the Message of my
Alléh): in: return for having Paradise?” But. he would not find
to.support him or to give him a safe shelter.

Shrikin: polytheists, pagans, idolaters, and disbelievers in the Oneness of Aah
His Messenger Muhammad ,1-) es.

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pay the Jizyah (a.tax levied on the non-Muslims
Gre under the protection ol an islamic

‘agans,~ JCWS an

element
As itis now obvious, at firs
permitted | an after that it was made obligato = (1) agairist them who start
“the fighting” against you (Muslims)... (2) and against all those who worship
others along with Allah... as mentioned in Strat ALBagarah (I), Ab-dmran
(I) and Taubah (IX)... and: other Sarah (Chapters 0 a
Allah xs made the fighting Jihad) obligatory for.

atement:

“March : forth whether you are light (being healthy, young and
wealthy) of heavy (being ill, old and poor), and strive hard with
your wealth and your lives in the Cause of Allah. This is better for
you if you but knew.” (V.9:41).

And He (Allah) said:

“Jihad (holy fighting in Allah's Cause) is. ordained for you
(Muslims). though you dislike it, and it may be that you dislike a
thing whichis , good for you and that, you like a thing which is bad
vs but you do not know.” (V.2:216)

nature is disliked by the human soul because
3

with the wastin
the spreading of fear an

good reward that ¢ 0
I h (a religious scholar) s2 t
afer they foved it and’ said: “We listen
submission to the order to fight means hardship,
Known it becomes clear to compare the hardship invdlved and its reward,
the Vérses_of the Qur’dn and the Switiah (the Prophet's le, al'wa
exhort Muslinis greatly to take jihad and have made quite
preatly those ‘who: hol
cd to them Various kinds of honours
‘Ailah ja). This is because they =
Tganidin’ are. a yl WI ish His religion (islam),

aM them UMijaniain), He will repel the might of His enemies, and with

mand guard the religion safely.

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was dearer to the believers than their
ow and Jews had formed a united front against
then (Muhammad py ut 4 ge and his followers) and had put up all their
efforts of enmity, standing and fighting against them... and (in fact) they
shouted against them from every corne Then, at that ime Allah
‘permitted them (Muhammad pry ot att and his followers) to fight but
He did not make it obligatory. He said:

erimission to fight is given to those (i.e. believers’ against

who are fighting them (and) because they (believers)

and. surely Allah is Able to give them

Muhammad pis) co a pte
elves. The (pagan) Arabs

have. DI Y
(believers) vict :
»$@: who have been expelled from: their. homes unjustly only
é they said: Our Lord is Allah.” (V.22 9,40). +
above Verses clearly state that Allah yw is Able to give vict
@rshippers (the believers) without fighting, but Allah w
ishippers obedience with. all their efforts as it is'evident from the
ivine Verse:
meet (in fi

€) either tor geneross
to what ‘bénéfits

“guide-them aiid set-right.their sta : : :

dimit them, to Paradise which He has made known to-them
hey will know their places in Paradis better than they used to
“hothés in this world).” (V.47:4,5,6) pt

after that He made fighting 1
fis); notvagainst thosé- who didn’t. fight you. So

those whé fight you.

“all. the Mushrikin as well as
Tistians) if they do not

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And AN&h ys St oo.
“Do you consider the: providing of drinking water to pilgrims and
the maintenance ‘of Al-Masjid-al-Hardm' (at Makkah) as equal to
the worth of ‘those who believe in’ Allah ‘and the Last Day, and
strive hard “and’ fight ‘int the Causé of Allah? They are not equal
before Allah! And Allah guides not those people’ who are ihe
Zalimani (polytheists and: wrong-doers).” (V.9:19)-
“Those who believed’ (in ‘the’ Onetiess of Allah — Islamic
and fought in Allah's

“Their Lord gives them glad tidings of Mercy from Him, and His’
being pleased (with them) and’ of Gardens (Paradise) for them
wherein aré everlasting delights.(V.9:21). uae
“They: will’ dwell therein for ever.* Verily, with Allah’ is a great
'22).° ~ —
st High, Who is above all that
ho’ maintain Al-Masjid-al-
cé of the mosqiié means to do
ion) of the Ka‘bah, and the
8 ned ini the above said Verse
-—- and those who provide drinking water to the pilgrinis are not equal to
those who did Jihdd in Allah's Catise. ‘Allah. jus informed that the
believers who. fight in Allah’s. Cause: (Mujahidin). are far superior in
grades before Him and-it is they who will be succéssful. :
And they are the ones who have received the glad tidings of: (1).His

in Spite:of His
“The Mosqu Of Allah: s! nal be-m intained. only. by those who
beliéve ‘in Allah x. and thé Last Day, perform Igamat-as-Saldt, and
give’ Zakdt‘and fear: none but Allah. It is they who-are expected to,
be on true guidance!” (V.9:18). i : : f

“Not. equal a nos believers who sit {at. home) except those
who are disabled (by injury,:.or are blind, or lame, etc.) and those

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“Andcit is they, (Mujdhidin) who fight against the enemies of Allah in
ordet-that the worship should be all for Allah (Alone and not for any
other. deity) and that the Word of Allah yu (i.e, none has the right to be
worshipped: but Allah js and. His religion Islam): should be superior.
Allah. has made them (Mujdhidin) partners in reward along with all those
who guard’ Islam, with their weapons, along with their good deeds which

_ >. they performed even if they sleep in their homes.

“And the Law-Giver (Allih) has made one who leads another to do a
equal to thé.doer of the deed himself, both in reward (for a good
d/ in punishment (for a crime)..So the inviter to a good deed and
r-to an.evil deed both will have‘a reward (good or bad) equal to
d of the oné who. has done that deed.
Laufficient'ig Allah’s Statement in this matter:
you Who belive! Shall I guide you to a commerce that will save
Omi a painful torment?”(V.6110) : : :
lis” Verse was revealed’ the souls became filled with the
“for this profitable commerce which Alléh jus 4: the: Lord of
j sts), the All-Knower, the All-Wise
isi :
you believe in Allah and His Messenger (Muhammad
ie dle ) and that you strive hard and fight in'the Cause of Allah
with your-wealth.and your lives,:, (V.61:11) ine 4
further Says Pests pan
ll be better for if you but know.” (V.61 /
nad (holy fighting in Allah’s Cause) is better for you than your
at homie). Regarding the reward Allah says? 7 |

+h rivers flow and p "
‘Adn Paradise).—. that is indeed the great

also (He will give you).another (blessi
ainst your enemies) and a near victory, And give glad
ye) to the ”V61:13). ,
eautiful are, these Words.(of Allah) and
How. great is the.attraction for:them
How soothing. are
He contentment
their meaning; We

gards the Statement of Allah ( ys ):-

“Verily, Allah has purchased of the believers their lives and their

properties; for (the price) that theirs shall be the Paradise. They

fight in Allih’s Cause, so they kill (others) and are killed. It is a

promise in truth which is binding on Him in the Torah and the

Gospel and the Qur'an: And who is truer to his covenant than

Allah? Then rejoice in the bargain which you have concluded. That

is the supreme success.” (V.9:1 il)

So Allah (se. ) has put Paradisé as the p
properties; SO if they sacrifice their lives
then ‘they deserve the prize (Paradise)
concluded with Him: He reassured them wit

1. Allah ‘inforrned the believers with t

“Surely.” :

3, By using the past tens

happened, and was confirmed and it remained as it was.

3. Moreover, He took upon Himself the responsibility of this

conyenant as He Himself bought the deal.

4. He informed that He has promised to give this price (Paradise)

and shall neither break His Promise, nor shall neglect it.

5, The Arabic word ‘ala used in this Divine Verse denotes obligation

to convey to His worshippers. that itis a binding on Him.

6.. He confirmed that it is indeed: a binding on Him:

7. He has informed that it (this bargain) is written in the Best Books
revéaled from the heavens. (ice., the Torah, the Gospel, and the

Qur'an). “

8. He_ used the jnterrogative form to émphasizé the fact that there
is none Truer to his convenant than: Him (Allah).

‘9: He ‘the, Glorified, the Most High ordered them to receive the glad

“tidings of this contract (bargain) and give the good news to one
another regarding a contrac ich Has been. ified and has come
io stay and admits of no choice of abrogation. :

10.. He informed them ‘of a truly sure news that there ig a supreme
success in the bargain (contract) which they have concluded. And

bargain here means the thing which they sh:
price (their liyes anc

__ Brice (th eg and properties) is Paradise.

And. His (Allab’s) Statement “Bargain which you have concluded” ié.

the ‘price with which you have exchanged the deal, ‘Allah the Glorified

mentioned the kinds of people who have concluded this contract (deal)

and not any other (as mentioned in His Statement): me pO
“(The believers whose lives Allah has purchased aré) those who
turn to Allah in reperitarice (from polytheism and hypocrisy), who

Ay
| Ton Qayyim said as re

rice of the believers and their
and properties for His Cause,
and the bargain which they
h a number of assurances:

he word of emphasis:

e which denotes that the thing has already

all receive with this -

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who stri i
wy na ae a fight in the Cause of Allah with their wealth
and Hebe Mees ai has preferred in grades those who strive hard
eet Ae ee and lives above those-who sit {at ho 0
preferred those whee steve heed Bon cove hose sh
Powe) by amas reward.” CW 495) fight, above those who sit (at
“Degrees of (hi om H
SO gher) grades from Him, and ivent
aM is Ever Oft-Forgiving, Most Merciful” (V4.96), Mery.
ea Of: Most Merciful.” (V.4:96).
whoa a i ~ “ Mighty) denied the equality between the believers
fght in_Alah’s Cause), — 0 1S See
), ~~ then’ He ment nes
ee oi mse (believers) Who SCAU ROTREY BY a Braue ANCHE
ae oned their. (MujGhidin’s) superiority ove: Te a
7 ome) by degrees of grades. — ————
n Zaid (a-xeligi said: The degice
it gious. scholar) said: T! !
atta scholar) said: he degrees of i i
All th as preferred the Mujahidin over those See ete Nathone,
nha these Allah Js mentioned in His Statement: Sat home)
ig ne nee neither thirst, nor fatigue nor hun.
ON dees ah. ie nor they, take any step to raise the anger
oe hee ced ag not inti any injury upon an enemy; but.is waiter ;
Ie wand of the dee of righteousness. Surely Allah | ‘
reward of the Mulisindan.” (V,9:120). > oses not the
These are five -— then ANah says: :

“Nor: d ything G
oNor 10 ney valley anythibg (in Allah’s Cause) —~ small or great
. y; ; written to their credit...” : a
: ve nese are two bringing the total to seven wee
on the doprees of aon me the statement ‘of Ibn Zaid said: True!
ae ee oned are reported i i ! is
Naitated AbO’ Huta i ported in Sahih: Al- Bukhari:
varrared. irah is'dii 3) The P
“Whos Huraira iui p32 The Prophet 3 cai di i
iM foever believes in Allah’and His Messenger, thine igtinak
Shen sromnise bin Sauth (fasts) in the:inonth of Ramadan ‘then
_ HL wil be a prox ise binding upon. Allah to-admit him to Paradise fio
matter whether he, ights in Alléh’s Cause or remains in the Tand
efor the -? The people said, “O Allah's Messenge I Sha
“Paradise h people of this good: news?” He: ve bee Sai i
rade as oe nde grades which Allah hos tectved for tbe
Hjar who. fight in 1 ause, and the distance betwe
meawe oF ates is like the distance vetneet ihe hema ad th nee
hen ee nah (for sonfiething), ask for A Firdaus which fee
Hele Gest) and igi est part of Paradise.” (The subnarrator added, ,
Throné ‘of the Ghadious ie so sald Above i (ie. AL-Firdaiss) is
f Paradise.’ ”] (Hadith No. 48, ota: Fron IC eeipinal hs

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“They. rejoice in what Allah has bestowed upon them of His
Bounty, rejoicing for the sake of t who have not yet joined
them, but are left behind (not yet yred) that on them no fear
shall come, nor shall they grieve. :

“They rejoice in a Grace and a Bounty from Allah and that Allah
will not waste the reward’ of the believers.

“Those. who answered (the Call of} Allah and the Messenger
(Muhammad jp, ue aij. ) after being wounded; for those of them
who did, good deeds and feared Allah, there is’a great reward.”
(V,3:169-172) . .
And He (Allah x) says:

“Those who believe, fight in the Cause of Allah, and those who
disbelieve, fight.in the cquse of Taghdt (Satan etc.). So fight you
against the friends of Satan; ever feeble indeed. is the plot of Satan.”
(V.4:76). : : '
“Then: fight; (O Muhammad pj uu ai ,1 ), in the Catise of. Allah;
you ‘are nof'tasked (held responsible) except for yourself, and incite
the believers. (to. fight along with you), it may be that Allah will
restrain the evil might of the disbelievers. And Allah is Stronger in
might and Stronger in punishing.” (V.4:84), .

And He (AlAh 4s ) says: :

“Let those (believers) who sell‘the life of this. world for the
Hereafter, fight in the Cause of: Allah; and whoso fights in the
Cause of Allah and is killed or gets victory, We shall bestow on
him a great‘reward,” (V.4:74). ay ‘
Aid so’on=-- there are other similar Verses (in the Qur'an) Besides
these; » . ‘ ¥ tae . Be by
Think’ deeply, dear brother in’ Islam, how Allah xs encourages the
spirit. to make His Word superior and to protect the weak, and to rescue

ainécted with Salar (prayet's) and Saum
S It. 18 “mz ar to both of them, and all the
thred (Jihdd, Salat and Sdium) are ordaine lh) for the believers

See how Allah has encouraged the cowardly mei to plunge themselves
into the’ battlés,' to face death with an opén heart, and to ran shddly for it
(Jihad) with great encouragenicnt, showing clearly to therm that death will
certainly overtake them, and in case they die a8 Mujahidin (Martyrs) they
will be compensated for: their worldly life with 4 mighty compensation
and they will'not.be dealt. with unjustly, in the very least.

Jihad ‘is a great deed: indéed ‘and: there . is no deéd whose 'réward or

is as.that of it, an st thing Thal oneca

volunteer for. All -the Muslim religious scholars unanimous ly agree

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worship (Him), who praise (Him); who observe Saum (fast) (or go

out in Allah’s Cause), who bow down [in Salat (prayer)]; who

prostrate themselves fin Salat (prayer)], who énjoin (people) AL

Ma‘riif . (i.e. Islamic Monctheism and all that Islam has ordained)

and forbid (people) from Al-Munkar (i.e. disbelief, polytheism of

all kinds and all that Islam has forbidden), and who observe the
limits set by Allah (do all that Allah has ordained and abstain from
ali kinds of sins and evil deeds which Allah has forbidden). And

give glad tidings to the believers,” (V.9:1 12)

And sufficient is this excellence <— (for a Mujahid which he will
receive) honour: and high degrees of grade — along. with other things
which Allah jus has made clear in the Qur'an: about the description of the
reward of Mujahidin, their. magnificent state, moving of feelings and
sentiments, the demanding of sacrifice in the cause of inviting others to
Islim, to. put strength and courage in the souls and to urge them to go
forward and be stable and firm, and Allah juz will grant them victory and
support them with the angels, as it is evident from the Statement of Allah:

“Remember when “you. (Muhammad pivp tule it te ) Said ‘to the

believers: ‘Is it not, enough fot you that your Lord'(All4h) should

help’ you’ with three thousand angels setit down?’ Yes, if yoli hold
on to patience and piety and the ehemy Comes rushing at you: your

‘Lord’ will help You. with’ five thousand angéls” having wiarks (of

distinction). Allah made it not bit as a message of good news for you

and as an assurance to your hearts, and there'is no victory except from

Allah the All-Mighty, the AllWise.” (V:3:124, 125, 126)...

vi"So do not become weak (against your enemy), nor.be.sad and you
will be superior (in’ victory) if you are indeed (true) believers. If a
ound (and killing) hag-totiched you, be sur
lling) has touched. :the others. A

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without eating or drinking (at all). and stand continuously. in Salat
(prayer) from the time the Mujahidin go out for Jihad (till the time they”
retum back home)?” The. man replied, “No.” Allah’s Messenger
phy ale tte Said, “That is (the thing) which is equal to Jihad.”
Likewise Allah's Messenger ploy sole ait ite Said?

1) The souls of the martyrs are in the green birds dwelling i in

Paradise wherever they. like.
2) That all their sins and faults:aré forgiven.
3) Ty hat each of them can-intercede with Allah: jus for seventy of

1 come secure on the Day of Resurrection from
‘the great teifor.
5) That he will not feel the agonies and distress of death.
6) That he will not be horrified by the (great) Gathering (on the
Day of Resurrection). Ps
7) That he does not feel the. pain of “the killing” exept lik that
of a pinch. .
And how many agonies and distressesare there for a person who dies
on his; bed —— and.a_ standing (praying) or a sleeping person in Jihdd is
better-than-a fasting or standing (praying) person notin Jihad» and
whosoever acted as a'guard_or.escort.in Allah's Cause, his eyes will Hever

withess the. Fire (Hell) and that a day spent while one is in ihad for

Allah’s:Cause is better than the. world and whatsoever is,in it...

If oné has understood (all) that, then Allah ju has reproached those
who: rernained bébind from ah’s Messenger | poy oda ain. during the
battle of: Tabuk (ie. they did not join ini it)—~ they who clung heavily to
the luxuries of: this world: + they. who: lagged behind.from hastening
onwards to march forth (for thé: battle of Tabuk) —~ Allah jus says:

“OQ you who believe!. What is the matter with you, that when. you ‘
aré. asked to march. forth in the Cause of Allah (i.e. go for Jihda),
you cling: heavily to the earth? Are you pleased with the life ofthis. ,
world. rather. than the - Hereafter? But little is the-enjoyment of the
life of this world as compared to the Hereafter.” (V.9:38)

Similarly; Allah i
they did not go for
their hearts, and. t
sit (at, home) wi

wag you ‘tharch not, forth; He y punish you with a painful nent.and
will. replace you by another.people and.you cannot harm Him, at all,
and Allah is Able to do all things.” (V.9:39)

Jihad is. superior to Hajj. and ‘Umrah (pilgrimage) and_also superior to
prayer).and Saum (fasting) as mentioned he

non-obligatory. Salat
Qur'an and Prophet 3 Sunnah. [cis obvious that the benefits of Jikad for
is are extensive and comprehensive, it (Jihad) includes all kinds of
Worship both hidden-and open, it also includes (a great) love for Allah jus
and it shows one’s sincerity.to Him and.it also shows one’s trust in Him,
and it indicates the, handing over of one’s soul and property to Him — it
(Jihdd) shows one’s _ patience, | one’ s devotion to Islim,; one’s
remembrance to'Allah jw and there are other kinds of good deeds which
aré present in Jikdd and are fot present in any other act of ‘worship.
For these above mentioned degrees of. grades of various kinds of
worship one should race for Jihdd. It is confirmed in
books (of Hadith). Nairated Aba’ Huraitah (may ‘All
I heard Allah's: Messenger ju, a oi saying: “By Hiritin Whose
Hand ty soul is! Were “it‘not for some men aniongst the believers‘who
dislike to be left behind me, and whom J cannot provide with means of
coniveyance; I-would: certainly never remain behind any Sariyyah (army
going .out for: Jihad in Allah’s Cause. By'Him in. Whose.Hand my
T would love to be martyred in A and then come‘back
-|ifé and then’ be' martyred and then come. back:to‘lifeagain and then be
martyred and then come back.to life again and then be martyred” (Sahih
Al-Bukhari, Vol 4, Hadith No. 54). mi
So-the : Prophet 5 as tes through his ways.of life, his firmness, his

A 1g ale al ls informed them te immediate and: deferred rewaid of
i Jab jug repels with it;

‘and. “what a preat honour, power, dignity 2
through it and he. th le te has placed. Ji

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And as to the military discipline, Allah ys said in Sirah: As-Saff
(Rows or Ranks):

“Verily! Allah loves those who fight in His Cause in rows (ranks)

as if they were a solid structure.” (V.61:4).

Similarly the Islamic armed forces are exhorted to give their Bai‘ah
(pledge) to listen and.obey, both in hard times and in ease, and in what
they like and in what they dislike. Allah jw says:

“Verily, those who give the Bai‘ah (pledge) to you (O

Muhammad), they are (in fact) giving the Bai'ah (pledge) to

Allah.” (V.48:10).

And All&h ycs praised those who are true to (their) covenant and who
fulfill their covenant by His Statement: ‘

“Among the believers are men who have been true to their covenant

with Allah, [i.e. théy havé gone out for Jihdd (holy fighting), and

showed not their backs té the disbelievérs], of thern some have
fulfilled their obligations, (ie. have been miartyred) and some still
are waiting, but they have never. changed [i.e. they never proved
treacherous to their covenant which they concluded with Allah].in

the-least.” (V.33:23) ,

And He ordered the. believers to take a firm stand against the enemy
when you (believers) meet their force, and to remember Allah jus.(much)
at the time of horror, as He said:

“OQ you who believe! When you meet (an enemy) force take a firm

stand against themy and remember the Name of Allah much (both

with tongue and mind), so that you may be successful,” (V.8:45), ..

And He (Allah gus ) encouraged the Mujdhidin in His Cause to. take a
firm stand. without any (kind) of fear and to display true. bravery (against
the enemy) from the start of the battle to the end += as He said: sa)

“So when, you meet (in fight -—— Jihad | in Allah’s Cause). those who
disbelieve, smite at. their, necks.,til]. you have

many of them,- then bind a bond firmly (on, ther

. captives) Thereafter (is the time for) either, genero. ty (ie. free
Dt (according to enefits

sutforing (hardship “then surely they (to0) are suffering
e suffering, but you have’ a hopé from Ali
Reward arddise) that’ for which they hope not;
Ever All-Knowing, All- Wise. (Vi é
“And many a Prophet (i.¢.. many from amongst the Proph
(in All&h’s Cause) and ‘along With “then (fought): 1 argé
religious learnéd «men:” But they never lost heart for that which did

And: there are many Verses of the Qur’an besides this Verse (that
threatén thé Muslim nation if they give up Jihda).

And you will not find any organization past or present, religious or
nor-religious as regards (Jihad and military) (ordering) the whole nation
to march forth and mob: all of them into active military service as a
single row for Jihdd in Allah’s Cause so as to make superior the Word of
Allah (ie. none has the right to be worshipped but Allah), as you will
find in the Islamic Religion and its teachings.

The; Qur’an and As-Sunnah (the legal ways of Prophet Muhammad
pig tale i te ) have clearly given (wonderful explanation for) every act

ng, Jihdd. The Book has distributed. its different actions and its
number of responsibilities on its special units a most accurate
ribution that excels above all the modern Organizations and the

he jus and’ to get ready against thém with all they can of power!
“that is the first step for Jihdd (fighting) and the supreme way for
ence. To get réady (for- Jihad) includes various kinds of
and weapons ~ [tanks; missiles, artilléry, aeroplanes (air
ships (navy), -etc., and the training of the soldiers: in these
eall included under (the meaning) -of the word.“force (ie
 navyand air-force)?” And -to: look: after (take care of) the

nt. forces: as well :as the stationed forces similar to looking after
é forces. And to take care of the army in Peace-time as well as

foundation of the military spirit’ as. they: say is: obedience and
ipling.- Allah yus. has. mentioned ‘the. two: elements of this
1 in-the Verses of His Book (the Qur’ an). :
obdience, Allah ‘yu says
believe’ say: hy’ is not 4 Sirah (Chapter of the.
sent’, down (for us)?’ But‘ when a decisive Sirah

Pere

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| 1239]

Similarly, the. Qur?4n warned (the believers) from committing sins
(both in open and in ' secret) small sins or great sins... and He-informned
them that All4h’s Help does not descend upon the disobedient sitiners:

“Thosé of you who turned back on the day, the two hosts met (ie.

battle of Uhud), it was Satan who caused them to backslide (run

away from the battlefield) because of some (sins) they had

earned...” (V.3:155) / ,

Allah -has: absolutely forbidden any dispute on any matter concerning
the fighting. (battle) and to: be always in complete agreement (about it),
and informed them that the dispute is the reason for failure and the losing
of the strength and kingdom:

«.,. And-do not dispute (with one another) lest you lose courage and

your strength departs; and be patient. Surely Allah i is with those

who ‘are patient.”(V.8:46) : ota

-Atid to béware of fleeing from the enemy duritig the fight (battle), and
it. is one of the biggest sins and those who commit it aré threatened with
grave punishinents:

“Q' you who believe! Wheti you: meet thosé who disbelieve ina

battlefield, tlever turn your backs to them.” (V.8:15)

“And whosoever tums his back to them on such a day, —- unless it

be a stvatagem’ of war, or to ‘retreat to a troop (of his own) — he

indeed has drawn upon himself the wrath form Allah. And his

abode is Hell, worst indee: s that destination!” (v. 8: 16)

ab. jus forbade Al hil “(ctealing from the war booty before its

bution) ie. the ne (a part of war booty illegally, and warned the

d a person who takes it, shall bring

ion) carrying it over his, back and neck,

being tortured by its heavy” burden and weight, terrified with its yoice,

n front of all the witnessés.

€ illegally a part of booty (Ghuli),
companions as regards the booty, he
of Resurrection that which he took

«Te is not
and whos
shall briiig

(illegally); Then: every person’ shall be. paid in full what he. has
alt with unjustly.” (V.3:161) “8

earned, and they shall not be

Similarly, one should be
show’ off, of for ‘good ” ‘reputation of for dignity, ‘or for pride’ and
or for the, ‘clan jour (noise) of nationalist and for false-

0 i Sp
and ‘dutiful to Allah, atid to be 5 good ti to those Muslims who were

be afraid
accompanying him. He then used to say (to that Commander):

befall:them in Allah’s Way, nor did they weaken, nor degrade
themselves. And Allah loves the patient ones.” (V.3:146)
Similarly, He ordered (the Mujdhidin) to have confidence, to keep
theif. composure and to expel (from their minds) all wrong conceptions,
weakness and sadness — as He said:
‘“So.do not become weak (against your enemy), nor be sad, and you
will be superior (in victory), if you aie indeed (true) believers.”
(¥.3:139)
Afid: Allah vs informed that He has given a guarantee of victory to
those’ who will defend Allah’s religion (true Islam). And there is no
éonsideration for the number of men or for the equipment with weapons
: but ( most important thing) is: true faith in Allah jcs and that the
vi tofy is (always) from Allah jo— as Allah jw said:
“Allah: helps you, none can overcome you; and if He forsakes
who is, there after Him that.can help you? And in Allah
in) let believers put their trust.” (V.3;160)
often a Small, group overcame a mighty host by Allah’s
And Aah is with the patient.” (V.2:249)

ess ngers, that they verily would be made triumphant. And that
r hosts; they verily would be victors.” (V.37:171-173)
nd (as. for) the believers it was incumbent upon: Us to help
ein)” (V.30:47) © :
aly’ the Qur’a n points out thé well-known fact that the battle is
@) day (victory) i is for you —— (the other ) day (victory) is for
3 Auah jc said?

2) has touched ihe others And 80 are the days (good and
6d) that We give to meén by turns.s.” (W:3:140) 00°"
{ “the mutual consultation” as one of the legal
‘decision, parti ul: APC
ke Jihdd and dealing With. énemiés, ete) and He praised His
Slaves. for t ality by His Statement:.
by nh yal consultaion.” (V.42:38)
; ct ah’s M lessenger
pte and ‘along’ with -his being helped by Divine Inspiration. still
him (saying):

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ee

number of Romans and how small is the number of Muslims?” Khalid
replied: “Woe to you! Do you make me afraid of the Romans?... But the
greatness of. the troops. is with victory and:the smallness, of the troops is
with defeat, not: with the number of men, by Allah I wish if the red-ones
(i.e, the camels. and the horses).ate cured from their journey hurts, Iwill
proceed to. attack them (Romans) even if their number is doubled. (The
hoofs ofthis horse had chafed and received injuries during its return form
‘Iraq to Al-Madinah).”

They used to endanger their lives, used to-do ‘wonders’ and
extradidinary: deéds being sure of Allah’s Help, depending upon His
Proinise a& it happéned in the Islamic’army under the: command of Sa‘d
bin Abt Waqqas: ‘He’ stood in’ front “of the town’ of Al-Madyah suai and
could: not find ship’ of boat (it bécame completely impossible for him
to find anythi {that 'sorty and the water of the river Tigris increased
trethéndously with overflodding and it 6verthrew its foari from excessive
water'in it. Sa‘d addressed thé troops- over its bank (saying): “Fhaye

resolved -io cross this’ sea (great tiver) in order to assault’ thény (the
enemy): They (the people) replied: “May Allalr diréct -us:and you to
0 it" Then he (Sa‘d) mshed heédlessly

é and’ all his’ troops: too’ tushed
heedlessly into it (Tigris)"and not nglé man was left behind; so they
marched. over it'as-if they: were matching over the surface of the earth; till
they filled it (the space) betwéén ifs two banks and oné could 'not’sdé the
water’: surface from the.cavalry and the foot-soldiers. The people spoke to
one another over the surface of water-as they used to. speak {0 one another

mad: people... mad peopl). By. A
n beings, but:against jinn.” On that:S 4
started saying: “All Sufficient for us and'He is the Best Disposer (for
our’ affairs); “by Allah! Surely’ Allah yié will give: Victory.to-His friends,
verily; -Allah will make Superior His religion, and verily Allah. will defeat
His: snemy, as long as there‘aré neithér adulterérs nor those: who commit
(similar) sins inthe army. (Sa‘d’s troops), then the ‘good. deeds; will
es! ‘they. (the Muslims)’ used: to: be afraid: of: (1) thei
disobedience of Allah: ss, more than-they used to be afraid of their
enemy: ot. their.enémy’s great. number. and mighty weapofs,-as we.find
bin Ab Khatab: ‘ade! ai ee saying: (in his letter to the C

) is’ bettet than the weapons 3 agaist the enemy ahd-a:
gem (device) in’ the war: [order“you anid the'sold
wlio “are* with: you to" be more ‘cautious and “aftaid* of: your own:

‘Invade. in. the. Name of Allah. xs and in the Cau i
those: who’ disbelieve in Allah ys. Invade and do hot press heavily by.
And ‘he (the Prophet pHs ule dt Ls) used to say to his com anions when

they intended invasion:
“Proceed in the Name of All4h js and for Allah jis and upon the
religion of Allah’s Messenger j1., .2s wit yt : Do not kill'the very old
ord? child, or-a woman and do not press heavily by éxceeding the
‘limits; Collect. the (war) booty, reconcile, and -do:g good as Allah
«loves the good-doers.”.
=éFor: that; the Messenger poy le iv te and those who bélieved in him
ried. with. fair: trials (martyrdom of mighty reward) to make
¥ toridus:: this religion (Isldi) and to invite others to it (Islam). So: Allah
as «them with victory and sent down. upon. them tranquillity and
helped: them with angels, and. ynited their hearts and cast terror into the

hey fought in the Cause of Allah dos » (for) Islamic Faith
/none but Allah Alone) and sincerely (for Al]ah’s sake) and

I ah’s. religion till it becomes, superior over. all

, and ‘mank ind is brought out — (1) from darkness into the light,
the wo shipping of men to the worshipping 9 9 h Algne (the
God), @) from. the | narrowness, of the its wideness

y
d thoughit little of the fears and dat ers,

the example of ‘Umar bin. A! Khattab. cceabh, pa) '] AS she
pations regarding: sending troops to ‘Iraq (for articipating in the
ahawand). ‘Alibin. Abi (Une

§ made superior and His troops
sm) with’ the angels till it reache:

dae ts, as § he c came from
in the Arab Christians said'to a ‘How great is the

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saw that day, the (wild) animals akes ne
shifting from that plac And a great number 0
saw (all) that and embraced I

ime limit) was prolonged for the Muslims and
their hearts were hardened and they forgot their religion and b <

nt of the fact (that for what purpose) Allab jts has sent an

ankind and from th

nativ
And when the term

ign

them from among the great number of mi
f the earth... ANG@h ys said: a
Islamic Monotheism, and real followe

number of nations
ou [true believers in V vers of

ane i é Sunnah (legal ways)] are

OA eeles er raised ee ood you enjoin AL-

c Monotheism and all that I am has ordained)

Al-Munkar (polytheism, disbelief and all that

and you believe in Allah...” (V.3:110)

are Jeading a life of the one who knows not

rbid what i
Isla forbidden),
So (today) th (Muslim d Hows:
any Prophet, nor b lieves in any Divine Message or D oS
nor expects any reckoning nor is afraid of the Hereafter. They (Musiims)
resemble the pre-l

Amic ignorant nations, against whom they used to
fight in the pa y have turned on their heels (bac ) as PON m
Islam th have imitated them (igno ation } in their civils: tion, in
i in their character and in the
lives. They (Muslims) also imitated them in many other
Atlah gw hated and fo! sook them. He (Allah) put
under the effects of (1) Western civil i

i o their land became “a free
a victim for every beast
he meaning of the

pparent:

(2) and th f pagand:
wealth” with no protector, their kingdom becar viet
of prey and a food (nourishment) for every eater and t a
statement of the Prophet (Muhammad ,., ae 31 te ) became
, ted that the nations will call other nations to share them

st you (Muslims) as the eaters call each other to eat from the

food in front ofthem in a large wo den plate.” A per son eC un
Prophet cae it te > “Will that happen because of or ml
number on that day?” The Prophet said: “Nay! Y SO oe eater
be) great, but you will be mibbish like the rubbish of t ood. ne
And inly. Allah will remove from the hearts of eee the
fear from you’ and surely He {A ) will throw ae mn my I
hearts.” A person a “What 1s Wahn, O Allah's fe eng i.
The Prophet jy te art said, “Wahn-is to love (this) world 3 0

hate death.

The Prophet 2) ue 31, also said /
‘ 1 Bai‘a Al- ‘Tnah (i.e. selling goods to a person
k from him for af

. indulged in

you: (1) pract lin
certain price and then buying them bac, n
2) and followed the tails of the cows (1.¢

crimes and sins (and not to commit them) than your enemy, as the
crimes and sins of the soldiers are more dangerous to them than
their enemy. The Muslims are victorious only because their
mies are disobedient to Allah ju and had it not been so, we have

no power over them, because neither our number is equal to their
number, nor our weapons are like theirs. If we commit crimes and
sins as they. do, then they (our enemies) will have superiority over
us in power. And if we will not gain victory over them by our
merits, we do not overpower them by our strength. And you should
also know that in this marching of yours (in Allah’s Cause) there
are guards (angels) upon you from Allah ps (to watch you); and.
they know all that you do. So be shy of them and do commit
disobedience (crimes and sins) while you are going in

1ah’s Cause and do not say: ‘Our enemy is worse than us, so they
will not overpower us.’ Perhaps.some people who are worse than
the others may overpower the others as the (disbelievers) Magians
rpowered the Children of Israel when they (the latter) involved
elves with Allah’s disobedience (crimes and sins). So they
believers, Magians) entered the very innermost. parts of their

sins), just as you ask Allah for the victory over your enemies... I ask

of Allah yo that, both for you and for us.”

So the Muslim warriors (Al-Mujdahidin) strictly followed: what this
rightly guided caliph ‘Umar had mentioned (as above): And. they
(Mujahidin) were as they were described by a Roman to a Roman Chie

“T have come to you from. men, very precise in their manners;
swift race-horses, during the night they. worship (Allah Alone)
sion, during the day they are cavaliers, if you speak to your
companions something, your friend will not und nd anything from
you because of the high tone of their voices while reciting the Qur’ an and
the mentioning of Allfh much.” So he (the Roman Chief) looked at !
come to you from them that over which
power.”
the story of ‘Uqbah bin Nafi‘: He (‘Ugbah) intended to
a place (town) in Africa, so as to be a place for the Muslim army and
to protect their families and properties from revolt against them by the
natives of the country. So he betook himself to the place of Al-Qairawan,
and it was a muddy place, full of every kind of beasts of prey (lions,
tigers, leopards, etc.) and snakes..., etc. So he (‘Uqbah) invoked Allah st,
and Allah answered his invocation, he then said: ‘“O snak
beasts of prey! We are the Companions of All4h’s Mes
(Muhammad ,L, ur 5 ..); go away from u: we are landing here, and
afterwards if we find any (of you wild beasts and snakes) we will kill

-fend themsleves neither little
nore. We take refuge with Aah ye from being I (by the
” Yon AL-Athir further said: “One of the Tatdrs got hold of a man
Tatar) could not find any (weapon) to kill him, so he told the
nd

was
nor 1
enemy).

and he (th Ke
man: “Put your head over this stone and do not move (keep it on)

so the man put his head over the stone and remained there till the same
man came with a sword and killed him... and there were many similar

incidents”...
s stutely obligatory upon the Islamic nation, and particularly
upon the religious scholars and the rulers from them to be obedient to
Him and to be dutiful to Him and to settle the matters of
5 invitation to this
s, and instruct (teach)
did the Muslim noble
ays) strove hard in AH4h’s
ity and with all their
efforts that His (Ailéh’s) Name should be superior... They stood...
inviting people to All ligion (Islam), explained to them the good
aspects and the excellence of Islam... and that was the re son the
kingdom was extended and their coun expanded, and the bjec
others to its (isl4m’s) teachings. But before long their descendants
deviated from the Right Path, tore themselves into pieces after they were
one united entity, they doubted the Truth, so, for them the path we
nt (vie
y they be
ble for them

differences amc
gion (Islam) to othe

the people

early days.” They (

“ausé as they ot

sepa and they became as grou (
and) opinions opposing each other in their aims
elevated?... How can there be any progr ‘
while they are following the disbelieving nations, they drag along behind
them, pursue their ways and footsteps and imitate their actions, small or
judge their people with the contradictory (man-made) laws
which conflict and cl with the IslAmic laws, w 1 were the origin of
their honour and pride and in which was their peace and stéadfastne
AAR yes Say
“Do they then seek the judgment of (the Days of) Ignorance. And
who is better in judgement than Allah for a people who have firm
Faith?” (V.5:50)

Sheikh ‘Abdullah bin Muhammad bin Humaid

Chief Justice of Saudi Arabia

riculture and became contented with it) (3) and deserted the

Jihad (holy fighting) in Allah's Cause, Allah will cover you with

humiliation and it will not be removed till you return back to your

teligion.” (Abii Dawid):

And now they (Muslims) have deserted the Jihdd and asked help from
(their) enemies and protection from the disbelievers, begging them;
turning towards. them, expecting good from them. So they (Muslims)
have become mean, despised before Allah in spite of their Islamic names
and_ in spite of the presence of righteous pious persons amongst them and
in spite of the fact that some of the religious laws, signs and ceremonies
are practiced in their countries,

One of the orientalists said: “When ‘the Muslims turned away from
their: religious teachings and became ignorant of its wisdom and.its laws,
and deviated towards thé contradic ry (man-made) laws taken from the
opinions, of men, there spread in them immorality of character, falsehood,
hypocrisy, ill-will, and hatefulness increased dn them. . Their unity
disintegrated and they became ignorant of their present.and future state
and..became unaware _of what will harm them or will benefit. them. They
have become contented..with. the life in which they eat, drink, sleep and

compete not with others, in superiority.” All this is a visible fact, which

every true, believer feels, and which every enthusiastic person (about his
religion) observes. in eyéry, community (nation) that gives up Al-Jihdd
and is engrossed: (1) in a luxurious life, (2) in the worshipping of wealth

nd (3) in the love of this world, ‘
History. informs ‘us;. What the most wretched (Al-Maghool and At-
dtar): did to the Muslims?.That: which will sadden the hearts and will

simake the eyes. shéd tear. i

Ton. Al-Athir~ saidt “I. remained’ for many “yeats, avoiding’ the
mentioning of this accident : because of its great magnitude, ing to
Speak about it, so that E.put a foot forward and another backward.and
thought. deeply,. -who is there who can-write the wailing and crying of the
Muslims and: who. is there.. on, whom:it is easy to mention that’... would
that: my mother had not begotten me... would that I had been dead before
this,and* had’ been: forgotten and out of sight... This job (work):includes
the :mentioiing of the great event and the severe calamity which made the
days: and the nights éxtrethiely hard-aid bitter tha

ng them one by
of the hun

